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AO 91 (Rev. 11/11) Criminal Complaint

UNITED STATES DISTRICT COURT

for the

District of Columbia

 

United States of America Case: 4:2 3-mj-00038
JOHN JOSEPH RICHTER ) Assigned To : Upadhyaya, Moxila A.
DOB: XXXXXX Assign. Date : 2/17/2023
) Description: Complaint W/ Arrest Warrant
)
Defendant(s)
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of January 6, 2021 in the county of in the

in the District of Columbia __ , the defendant(s) violated:

Code Section Offense Description
18 U.S.C. §§ 1512(c)(2), 2 - Obstruction of an Official Proceeding and Aiding and Abetting;
18 U.S.C. §§ 1752(a)(1) and (b)(1)(A) - Entering and Remaining in a Restricted Building or Grounds with a Deadly or
Dangerous Weapon:
18 U.S.C. §§ 1752(a)(2) and (b)(1)(A) - Disorderly and Disruptive Conduct in a Restricted Building or Grounds with a
Deadly or Dangerous Weapon;
40 U.S.C. § 5104(e)(2)(A) - Entering and Remaining on the Floor of Congress;
40 U.S.C. § 5104(e)(2)(D) - Disorderly Conduct in a Capitol Building;
40 U.S.C. § 5104(e)(2)(G) - Parading, Demonstrating, or Picketing in a Capitol Building.

This criminal complaint is based on these facts:

See attached statement of facts.

WW Continued on the attached sheet.

 

Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1

by telephone. M /f lly pes

Date: 02/17/2023

 

Judge’s signature

City and state: Washington, D.C. Moxila A. Upadhyaya, U.S. Magistrate Judge

Printed name and title
